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6                            UNITED STATES DISTRICT COURT
7                           SOUTHERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                          Case No.: 19CR4339-JAH
10                                     Plaintiff,
                                                        ORDER GRANTING MOTION TO
11   v.                                                 DISMISS INFORMATION (Doc. No.
                                                        34)
12   FRANCISCO GUEVARA-ARMENTA,
13                                   Defendant.
14
15           Upon motion of the United States of America and good cause appearing, IT IS
16   HEREBY ORDERED that: (1) the INFORMATION in the above-entitled case be
17   dismissed without prejudice.
18           IT IS SO ORDERED.
19
20   DATED: October 16, 2020
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22                                                  _________________________________
                                                    JOHN A. HOUSTON
23
                                                    UNITED STATES DISTRICT JUDGE
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